            Case 1:19-cv-03224-RJL Document 10 Filed 10/29/19 Page 1 of 3



                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
CHARLES M. KUPPERMAN                 )
                                     )
                  Plaintiff,         )
                                     )
v.                                   )  Civil Action No. 1:19-cv-3224 (RJL)
                                     )
UNITED STATES HOUSE OF               )
REPRESENTATIVES, et al.              )
                                     )
                  Defendants.        )

                    DEFENDANTS’ UNOPPOSED JOINT MOTION TO
                        RESCHEDULE STATUS CONFERENCE

       The Defendants to the above-captioned action respectfully move to reschedule the October

31, 2019, status conference. In support of this unopposed joint motion, and in accordance with the

Court’s Standing Order, ECF No. 4, the parties state as follows:

       1.      Plaintiff filed his Complaint on Friday, October 25, 2019. Complaint, ECF No. 1.

On Monday, October 28, 2019, the Court scheduled a status conference for Thursday, October 31,

2019 at 3:00 PM.

       2.      As of the date Plaintiff filed his Complaint, counsel for both the Department of

Justice and the House of Representatives in this case were already scheduled to present oral

argument on cross-motions for summary judgment at 2:00 PM on October 31, 2019, in Committee

on the Judiciary, United States House of Representatives v. Donald F. McGahn II, No. 1:19-cv-

2379-KBJ (D.D.C.). That case raises a number of issues that may overlap with the issues presented

in this case, and the same attorneys from the Department of Justice and the House of

Representatives will be working on both matters. Moreover, in light of the number of issues

presented in the McGahn case, the Defendants reasonably anticipate that the motions hearing will
            Case 1:19-cv-03224-RJL Document 10 Filed 10/29/19 Page 2 of 3



last several hours. Given this pre-existing conflict, undersigned counsel for the Defendants

respectfully submit that good cause exists to reschedule the status conference.

       3.      Pursuant to the Court’s Standing Order, ECF No. 4 at ¶ 4(c), the Defendants propose

that the status conference be held at any time on November 1, 2019, November 4, 2019, or

November 5, 2019. While undersigned counsel for the Defendants will of course make themselves

available on any of these alternative dates and times if so ordered by the Court, such counsel

strongly prefer that the status conference be held on November 1, 2019, because such counsel are

also scheduled to present oral argument on a motion to dismiss at 10:00 AM on November 6, 2019,

in Committee on Ways & Means, United States House of Representatives v. United States

Department of the Treasury et al., No. 1:19-cv-1974-TNM (D.D.C.).

       4.      Counsel for the respective Defendants have conferred with Plaintiff’s counsel about

their request to reschedule the status conference. Counsel advised that Plaintiff does not oppose the

relief requested herein, and further that, in light of the Court’s recognition of “the time-sensitive

nature of the issues raised in this case,” Plaintiff’s counsel will make themselves available for a

status conference at the earliest moment convenient to the Court’s calendar.

       For the foregoing reasons, the Defendants respectfully request that the Court grant this

unopposed joint motion to reschedule the status conference. A proposed Order is attached.

       Date: October 29, 2019                         Respectfully submitted,

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                                                      Assistant Attorney General

                                                      JAMES M. BURNHAM
                                                      Deputy Assistant Attorney General

                                                      JAMES J. GILLIGAN
                                                      Special Litigation Counsel




                                                -2-
Case 1:19-cv-03224-RJL Document 10 Filed 10/29/19 Page 3 of 3



                                  ELIZABETH J. SHAPIRO
                                  Deputy Director

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                            -3-
    Case 1:19-cv-03224-RJL Document 10-1 Filed 10/29/19 Page 1 of 1



               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
CHARLES M. KUPPERMAN                 )
                                     )
                  Plaintiff,         )
                                     )
v.                                   ) Civil Action No. 1:19-cv-3224 (RJL)
                                     )
UNITED STATES HOUSE OF               )
REPRESENTATIVES, et al.              )
                                     )
                  Defendants.        )

                              [PROPOSED] ORDER

       This matter is before the Court on the Defendants’ unopposed joint motion to

reschedule the October 31, 2019, status conference. It is hereby ORDERED that the

unopposed joint motion is GRANTED and the status conference is rescheduled for ___ on

_________, 2019.

SIGNED and ENTERED this ___ day of _________, 2019.



                                                 ______________________
                                                 Hon. Richard J. Leon
                                                 United States District Judge
